Case 3:25-mj-00284-BT SRST Se ated oe ee Bde 1of1 PagelD1

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
JUDGE: REBECCA RUTHERFORD
DEPUTY CLERK: _L. Price COURT REPORTER/TAPE NO: FTR
LAW CLERK: USPO/PTSO:
INTERPRETER: COURT TIME: /0:3/ -/0- 2/
A.M. | P.M, DATE: March 21, 2025
CMAG. NO. ODIST. CR. NO. 3:25-mj-00284-BT USD3J Magistrate Judge Rebecca Rutherford

UNITED STATES OF AMERICA ) liso £; lanagow— pusa

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COUNSEL FOR DEFENDANTS APPT — (A), Retd - (R), FPD — (F)

Vv.

Or Or Qr CO? “OR? WO?

DAVID VARGAS-MUNIZ (1)

MINITIAL APPEARANCE CJIDENTITY CIBOND HEARING DPRELIMINARY HEARING
CJ) DETENTION HEARING CICOUNSEL DETERMINATION HEARING CIREMOVAL HEARING DEXTRADITION HEARING
CO HEARING CONTINUED ON CASE NO. CIOTHER DISTRICT CMDIVISION
[C¥DATE OF FEDERAL ARREST/CUSTODY: 03/20/2025 MISURRENDER
[ RULE 5/32 CAPPEARED ON WRIT
CYDEFT FIRST APPEARANCE. DEFT ADVISED OF RIGHTS/CHARGES CJPROBATION/SUPERVISED RELEASE VIOLATOR
(DEFT FIRST APPEARANCE WITH COUNSEL.
O DEFT OXMW (MATERIAL WITNESS) APPEARED CIWITH CIWITHOUT COUNSEL

QUESTS APPOINTED COUNSEL.

FINANCIAL AFFIDAVIT EXECUTED.

4 ORDER APPOINTING FEDERAL PUBLIC DEFENDER.
0 PRIVATE COUNSEL APPOINTED
(J DEFT HAS RETAINED COUNSEL
C] ARRAIGNMENT SET LIDETENTION HEARING SET

C PRELIMINARY HEARING SET CIBOND HEARING SET

C COUNSEL DETERMINATION HEARING SET

C IDENTITY/REMOVAL HEARING SET

OC BOND OSET OREDUCED TO $ OCASH O SURETY 010% O PR OUNS O3RD PTY OMW

C1 NO BOND SET AT THIS TIME, __ DAY DETENTION ORDER TO BE ENTERED U.S. DISTRICT COURT

C ORDER OF TEMPORARY DETENTION/COMMITMENT PENDING HEARING ENTEN®S. HERN DISTRICT OF TEXAS
Cl ORDER OF DETENTION PENDING TRIAL ENTERED. TLE

C0 DEFT ADVISED OF CONDITIONS OF RELEASE.
CO BOND EXECUTED ODEFT OMW RELEASED CISTATE AUTHORITIES DINS MAR 21 2096
C DEFT OMW REMANDED TO CUSTODY. \

(C DEFT ORDERED REMOVED TO ORIGINATING DISTRICT. xp -

(WAIVER OF CIPRELIMINARY HEARING (RULE 5/32 HEARING CIDETENTION BEARINGS. DISTRICT GOURT
C COURT FINDS PROBABLE CAUSE DID OPC. By j 2

C DEFT FAILED TO APPEAR. ORAL ORDER FOR ISSUANCE OF BENCH WARRA Tp

C1 GOVERNMENT TO NOTIFY FOREIGN CONSULAR. UV

C FED. R. CRIM. P. 5(f)(1) ORAL ORDER ISSUED. WRITTEN ORDER TO FOLLOW.

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